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                       eXp REALTY, LLC, eXp WORLD
                    10 HOLDINGS, INC. and GLENN SANFORD
                    11
                    12                              UNITED STATES DISTRICT COURT
                    13                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    14
                    15 FABIOLA ACEVEDO, JANE DOE 1,                         Case No. 2:23-cv- 01304-AB-AGR
                       JANE DOE 2, JANE DOE 3, and
                    16 JOHN DOE 1,                                          [PROPOSED] ORDER GRANTING
                                                                            DEFENDANT EXP REALTY,
                    17                    Plaintiffs,                       LLC’S MOTION TO COMPEL
                                                                            PLAINTIFFS’ RULE 35
                    18            vs.                                       EXAMINATION
                    19 EXP REALTY, LLC, EXP WORLD
                       HOLDINGS, INC., MICHAEL L.
                    20 BJORKMAN; DAVID S. GOLDEN;
                       GLENN SANFORD; BRENT GOVE;                           Trial Date:      November 18, 2025
                    21 and DOES 1-10,
                    22                    Defendants.
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& SMITH LLP                                             [Proposed] Order Granting eXp’s Motion To Compel Rule 35 Exam
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                     1        The Court has considered Defendant eXp Realty, LLC’s Motion To Compel
                     2 Independent Forensic Psychiatric Evaluation of Plaintiffs, pursuant to Federal Rule
                     3 of Civil Procedure, Rule 35.
                     4        FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:
                     5        1.     This Court grants Defendant eXp Realty, LLC’s Motion for an order
                     6 pursuant to Fed. R. Civ. P. 35(a).
                     7        Manner:
                     8        2.     Plaintiff Christy Lundy must appear for the Independent Forensic
                     9 Psychiatric Evaluation by Marc A. Cohen, M.D at 468 N. Camden Drive, Second
                    10 Floor, Beverly Hills, CA 90210. The evaluation will begin no early than 9:00 a.m.,
                    11 and is expected to last until at least 5:30 p.m. that same day. The examination will
                    12 take place on Friday, May 23, 2025.
                    13        Scope:
                    14        3.     The examination will take place over eight hours excluding any breaks,
                    15 which can be taken as needed. The exam will begin at 10:00 A.M. The psychiatric
                    16 examination will be video and audio recorded in its entirety and both the Plaintiff
                    17 and Dr. Cohen will be video recorded. The examination will consist of a psychiatric
                    18 interview and the administration of one or more psychological tests. The
                    19 examination will involve a detailed inquiry into many different pertinent topics
                    20 which include, but not limited to, Plaintiff’s claimed emotional damages, the onset
                    21 and course of current symptoms as well as several other clinical domains, such as
                    22 psychiatric and mental health treatment history, social history, substance use,
                    23 criminal history, medical history and current medications, family history,
                    24 relationship histories, employment history and educational history, as well as other
                    25 subject matters. The examination may also include, but is not limited to, the
                    26 administration of one or more of the following psychological tests or assessments:
                    27 Minnesota Multiphasic Personality Inventory-3 (MMPI-3); Millon Clinical

LEWIS               28 Multiaxial Inventory (MCMI-IV); Personality Assessment Inventory (PAI);
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                     1 Structured Interview of Reported Symptoms (SIRS-2); Montreal Cognitive
                     2 Assessment (MOCA); 15 Item Test; Trauma Symptom Inventory-2 (TSI-2); and/or
                     3 Test of Memory Malingering (TOMM). Plaintiff, however, is not to be questioned
                     4 on the names of treating physicians of third parties other than Plaintiff, so as not to
                     5 impinge on third parties’ right to privacy as the rights of privacy of third parties are
                     6 in issue. Defendant will inquire into the foregoing with the following limitations:
                     7         Conditions:
                     8         a.     Plaintiff is not to be questioned concerning her conversations with her
                     9 counsel, or any person affiliated with her counsel or her counsel’s office.
                    10         b.     Plaintiff is not to be questioned concerning any confidential
                    11 communications with a spouse with the understanding that questions on whether a
                    12 spouse witnessed any of the alleged mental distress and symptoms is not covered by
                    13 any privilege or exempted from the examination .
                    14         c.     Plaintiff is not to be questioned concerning her counsels’ evaluation of
                    15 her claims against any of the Defendants, nor is Plaintiff to be questioned about any
                    16 discussions Plaintiff has had with her counsel regarding such evaluations, as that is
                    17 invasive of the attorney-client and attorney work product privileges; this includes,
                    18 without limitation, legal evaluations of claims by any expert or potential experts
                    19 retained by Plaintiff and/or her counsel in preparation for trial in the matter.
                    20         d.     Plaintiff may not be accompanied at the examination by a third party,
                    21 including plaintiff's counsel or Defense counsel, during the examination. Only Dr.
                    22 Cohen shall be present during the examination.
                    23         e.     The psychiatric examination of Plaintiff may not involve any tests or
                    24 procedures that are painful, protracted or intrusive.
                    25         f.     Plaintiff shall not be required to fill out any patient information forms
                    26 of any type whatsoever, including, but not limited to “new patient” forms, insurance
                    27 forms, identification forms, authorizations for records, arbitration forms, waivers

LEWIS               28 and releases and will not be asked to do so by the medical professional or his staff.
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                     1            g.   The medical professional’s office will not take any photographs, finger
                     2 prints or other identification information from the Plaintiff, including, but not
                     3 limited to driver’s license, Social Security number and home address.
                     4            h.   The psychiatric examination of Plaintiff does not involve any tests or
                     5 procedures that are painful, protracted or intrusive.
                     6            i.   Plaintiff will fully participate in the mental exam to the best of his
                     7 abilities. In the event Dr. Cohen believes in reasonable good faith that Plaintiff is
                     8 not participating and/or obstructing the examination, Dr. Cohen will notify counsel
                     9 for Defendant in order to attempt to resolve the matter at that time. If the parties are
                    10 unable to resolve the issue, Defendant has the right to terminate the examination and
                    11 file a Motion to Compel with the Court and seek monetary sanctions.
                    12            j.   Plaintiff shall be entitled to take reasonable breaks during the
                    13 examination process, including, but not limited to taking a lunch break, rest breaks
                    14 and bathroom breaks. If at any time during the proceedings, Plaintiff feels in
                    15 reasonable good faith that the proceeding has become abusive, she will immediately
                    16 notify her counsel or other designated representative in order to try to resolve the
                    17 matter at that time.
                    18            k.   Copies of all recordings will be provided to all counsel within twenty
                    19 (20) business days of the examination, upon request. Any recordings produced are
                    20 subject to the protective order entered in the matter and parties shall have the right
                    21 to utilize any designation in said order for any portions of the recordings.
                    22            IT IS SO ORDERED.
                    23
                    24 DATED:_______________                                   __________________________
                                                                               Honorable Alicia Rosenberg
                    25                                                         United States Magistrate Judge
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                     1                                CERTIFICATE OF SERVICE
                     2            I hereby certify that on April 21, 2025, I electronically transmitted the
                     3 foregoing attached document to the Clerk’s office using the Court’s CM/ECF
                     4 System.
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                     6                                                     /s/ William E. Pallares
                                                                       WILLIAM E. PALLARES
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                     1                                CERTIFICATE OF SERVICE
                     2            I hereby certify that on April 22, 2025, I electronically transmitted the
                     3 foregoing attached document to the Clerk’s office using the Court’s CM/ECF
                     4 System.
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                     6                                                     /s/ William E. Pallares
                                                                       WILLIAM E. PALLARES
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